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                                                                                     FILED
                                                                                VANESSA L. ARMSTRONG, CLERK
                              UNITED STATES DISTRICT COURT                            FEB 14 2020
                              WESTERN DISTRICT OF KENTUCKY
                                   AT BOWLING GREEN                             U.S. DISTRICT COURT
                                                                               WESTN. DIST. KENTUCKY
UNITED STATES OF AMERICA

                                                                  INFORMATION

                                                                  ~U-J,D-tr~B- Cr ~s
vs.
                                                           NO.
                                                                  18 U.S.C. § 1956(h)
H. HARRIS PEPPER, JR.




The United States Attorney Charges:

                                           COUNT I
                                  (Money Laundering Conspiracy)

         From in or about and between 2008 through 2016, in the Western District of Kentucky,

Warren County, and elsewhere, the defendant, H. HARRIS PEPPER, JR., did knowingly

combine, conspire, and agree with D.B. to commit offenses against the United States in violation

of Title 18, United States Code, Sections 1956, to wit:

                (a) to knowingly conduct and attempt to conduct a financial transaction affecting

         interstate and foreign commerce, which _involved the proceeds of a specified unlawful

         activity, that is transmission of wagering information in violation of title 18, United States

         Code, Section 1084, with the intent to promote the carrying on of specified unlawful

         activity and that while conducting and attempting to conduct such financial transaction

         knew that the property involved in the financial transaction represented the proceeds of

         some form of unlawful activity in violation of Title 18, United States Code, Section

         1956(a)(l)(A)(i); and

                (b) to knowingly conduct and attempt to conduct financial transactions affecting
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       interstate commerce and foreign commerce, which transactions involved the proceeds of

       specified unlawful activity, that is, transmission of wagering information in violation of

       Title 18, United States Code, Section 1084, knowing that the transactions were designed

       in whole or in part to conceal and disguise the nature, location, source, ownership, and

       control of the proceeds of specified unlawful activity, and that while conducting and        •

       attempting to conduct such financial transactions, knew that the property involved in the

       financial transactions represented the proceeds of some form of unlawful activity, in

       violation of Title 18, United States Code, Section 1956(a)(l)(B)(i).

                                   MANNER AND MEANS

       The manner and means used to accomplish the objectives of the conspiracy included,

among others, the following:

       A.      In 2008, D.B. purchased a percentage of ownership of Hard Six, LLC, by providing

       $125 ,000 in cash to PEPPER. Hard Six owned real estate and buildings that it leased to

       Dollar General Store, Inc. Both PEPPER and D.B. knew portions of the proceeds invested

       by D.B. were proceeds of a specified unlawful activity.    PEPPER did not document or

       record D.B. as an owner in Hard Six to conceal D.B.'s involvement in the transaction.

       B.     In about 2010, D.B. attempted to purchase a percentage of ownership of an

       apartment complex on Louisville Road in Bowling Green, Kentucky, by providing

       $90,000 in cash to PEPPER.       Both PEPPER and D.B. knew portions of the proceeds

       invested were proceeds of a specified unlawful activity. PEPPER did not document or

       record D.B. as an owner in the apartment complex to conceal D.B. ' s involvement in the

       transaction.

       C.     From in or about 2009 through 2016, D.B. purchased and maintained a percentage
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     of ownership of HAAM Investments, LLC, by providing approximately $250,000 in cash

     to PEPPER. HAAM Investments was created and used for purchasing an apartment

     complex in Russellville, Kentucky.      Both PEPPER and D.B. knew portions of the

     proceeds invested were proceeds of a specified unlawful activity. PEPPER transferred his

     ownership ofHAAM Investments in July of 2009. As part of the conspiracy, but not known

     to PEPPER, on August 19, 2016, D.B. sold his ownership interest ofHAAM Investments

     and received a $160,000 check payable to B.B. from HAAM Investments. PEP;t>ER did

     not document or record D.B. as an owner in HAAM Investments to conceal D.B. ' s

     investment in the transaction.

     D.     From in or about 2010 through 2016, D.B. purchased and maintained an

     ownership interest in MYP Properties by providing approximately $200,000 in cash and

     relief from gambling debt to PEPPER. MYP Properties was created to own and operate

     apartment complexes. Both PEPPER and D.B. knew portions of the proceeds invested

     were proceeds of a specified unlawful activity. In April of 2016, PEPPER gave D.B.

     approximately $59,436 in cash as a return on his investment. In addition, in April 2016

     PEPPER wrote a check for $20,000 payable to Kentucky Aviation Partners for the

     benefit ofD.B. PEPPER did not document or record D.B. as an owner ofMYP

     Properties to conceal D.B.'s involvement in the transaction.

     All in violation of Title 18, United States Code, Section 1956(h).




                                           RUSSELL M. COLEMAN
                                           UNITED STATES ATTORNEY

RMC:BRC: 011520
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UNITED ST ATES OF AMERICA v. H. Ha rris Pepper, Jr.
                                                 PENALT I ES

Count I: NM 20 yrs./$500,000/both/NM 3 yrs. Supervised Release


                                                                    O T TC E

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS , FINES, RESTTTUTTO & COSTS.

SPECIAL ASSESSMENTS

18 U.S .C. § 301 3 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11 , 1984, as fo ll ows:

           Misdemeanor:           $ 25 per count/individual                  Felony:         $ I 00 per count/individual
                                  $ 125 per count/other                                      $400 per count/other



In additi on to any of the above assessments, you may also be sentenced to pay a fi ne. Such fin e is due immediately un less the court
issues an order requiring payment by a date certain or sets out an instal lment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 357 1, 3572, 36 1I , 36 12

Fa ilure to pay fin e as ordered may subj ect yo u to the fo llow in g:

           I.     INTEREST and PENALTIES as applicable by law according to last date of offense.

                       For offenses occurring after December 12, 1987:

                         o INTEREST wi ll accrue on fin es under $2,500.00.

                       I TEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                       the time of sentencing. Thi s rate changes monthly. Interest accrues from the first business day
                       fo llowing the two week period after the date a fin e is imposed.

                       PE ALTIES of:

                       I 0% of fine balance if payment more than 30 days late.

                       15% of fine balance if payment more than 90 days late.

           2.          Recordati on of a LIE   shall have the same force and effect as a tax lien.

           3.          Continuous GARNISHMENT may apply until your fin e is paid.

           18   u.s.c. §§ 36 12, 36 13
                       If you WILLFULLY re fuse to pay your fine, you shall be subj ect to an ADDITIONAL FINE
                       of not more than the greater of $ I 0,000 or twice the unpaid balance of the fine; or
                       IMPRISONMENT fornot more than I year or both. 18 U.S .C. § 36 15
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RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
resti tution to any victi m of the offense, in addition to, or in lieu of any other penalty authori zed by law. 18 U.S.C. § 3663

APPEAL

If you appeal your convicti on and the sentence to pay your fine is stayed pend ing appeal, the court shall require:

           I.        That you deposit the entire fine amount (or the amount due under an installment schedule
                     during the time of yo ur appeal) in an escrow account wi th the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

           18 U.S.C. § 3572(g)

PAYME TS

If you are ordered to make payments to the U.S. Distri ct Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and deli vered to the appropriate division offi ce listed below:

                     LOUISVILLE:                      Clerk, U.S. Distri ct Court
                                                      I06 Gene Snyder U.S. Courthouse
                                                      60 I West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREE                     Clerk, U.S. Distri ct Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42 101
                                                      270/393-2500

                     OWENSBORO :                      Clerk, U.S. Distri ct Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 4230 I
                                                      270/689-4400

                     PAD UCAH:                        Clerk, U.S. Distri ct Court
                                                      127 Federal Building
                                                      50 I Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

l f the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
